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To the Honorable Jeremiah C. Lynch,

| am Gary Jacobs, | run the Commercial Sales Program for AutoZone and before that | ran the Avis Rental
Car at the Bozeman International Airport where Jamie was my Assistant Manager. Jamie was a great
assistant, | would say the best one | have had to date. He is extremely likeable and reliable. | absolutely
DO NOT believe that Jamie Grubb is in anyway a danger to society and should be released from jail while
his case is being processed. If any addition information or questions need answered please feel free to
contact me at 406-539-9873.

Thank you for your time,

Jacobs, Gary D.

 

 

 
